       Case 1:25-cv-00471-TJK          Document 30        Filed 03/03/25     Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                            )
National Urban League, et al.,              )
                                            )
                             Plaintiffs,    )
                                            )
                      v.                    )    Civil Action No. 1:25-cv-00471
                                            )
Donald J. Trump, et al.,                    )
                                            )
                             Defendants.    )
__________________________________________)

    JOINT NOTICE OF PROPOSED BRIEFING SCHEDULE FOR PLAINTIFFS’
               MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to the Court’s Minute Order dated March 3, 2025, the Parties have conferred and

proposed the following joint proposed briefing schedule for Plaintiffs’ pending Motion for

Preliminary Injunction (ECF No. 29), which is now set for hearing on March 19, 2025.

       Defendants will file their Response in Opposition to the Preliminary Injunction motion on

or before Wednesday, March 12, 2025.

       Plaintiffs will file any Reply in further support of the Preliminary Injunction motion on or

before Monday, March 17, 2025.



Respectfully submitted,




                                               -1-
      Case 1:25-cv-00471-TJK        Document 30       Filed 03/03/25   Page 2 of 3




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                                             -2-
Case 1:25-cv-00471-TJK   Document 30      Filed 03/03/25      Page 3 of 3




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                               -3-
